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                              UNITED STATES DISTRICT COURT
                               NORTHERN DISTRICT OF TEXAS
                                    DALLAS DIVISION

SHANNON GRADY,                                §
          PLAINTIFF,                          §
                                              §
V.                                            §       CASE NO. 3:19-CV-03001-B-BK
                                              §
COMMISSIONER OF THE SOCIAL                    §
SECURITY ADMINISTRATION,                      §
           DEFENDANT,                         §


     ORDER ACCEPTING FINDINGS, CONCLUSIONS AND RECOMMENDATION
               OF THE UNITED STATES MAGISTRATE JUDGE

       The United States Magistrate Judge made findings, conclusions and a recommendation in

this case. The District Court reviewed the proposed findings, conclusions and recommendation for

plain error. Finding none, the Court ACCEPTS the Findings, Conclusions and Recommendation

of the United States Magistrate Judge. Accordingly, Plaintiff is awarded the sum of $7,518.53 which

shall be made payable directly to Plaintiff, but sent in care of her attorney. Payment of the $400.00

the filing fee shall be made from the Judgment Fund by the Department of the Treasury pursuant to

31 U.S.C. § 1304.

SO ORDERED.

DATED: August 27, 2021.



                                              _________________________________
                                              JANE J. BOYLE
                                              UNITED STATES DISTRICT JUDGE


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